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                                                                                                      Executive Order 14169 of January 20, 2025

                                                                                                      Reevaluating and Realigning United States Foreign Aid

                                                                                                      By the authority vested in me as President by the Constitution and the
                                                                                                      laws of the United States of America, it is hereby ordered:
                                                                                                      Section 1. Purpose. The United States foreign aid industry and bureaucracy
                                                                                                      are not aligned with American interests and in many cases antithetical
                                                                                                      to American values. They serve to destabilize world peace by promoting
                                                                                                      ideas in foreign countries that are directly inverse to harmonious and stable
                                                                                                      relations internal to and among countries.
                                                                                                      Sec. 2. Policy. It is the policy of United States that no further United
                                                                                                      States foreign assistance shall be disbursed in a manner that is not fully
                                                                                                      aligned with the foreign policy of the President of the United States.
                                                                                                      Sec. 3. (a) 90-day pause in United States foreign development assistance
                                                                                                      for assessment of programmatic efficiencies and consistency with United
                                                                                                      States foreign policy. All department and agency heads with responsibility
                                                                                                      for United States foreign development assistance programs shall immediately
                                                                                                      pause new obligations and disbursements of development assistance funds
                                                                                                      to foreign countries and implementing non-governmental organizations, inter-
                                                                                                      national organizations, and contractors pending reviews of such programs
                                                                                                      for programmatic efficiency and consistency with United States foreign pol-
                                                                                                      icy, to be conducted within 90 days of this order. The Office of Management
                                                                                                      and Budget (OMB) shall enforce this pause through its apportionment author-
                                                                                                      ity.
                                                                                                         (b) Reviews of United States foreign assistance programs. Reviews of each
                                                                                                      foreign assistance program shall be ordered by the responsible department
                                                                                                      and agency heads under guidelines provided by the Secretary of State,
                                                                                                      in consultation with the Director of OMB.
                                                                                                        (c) Determinations. The responsible department and agency heads, in con-
                                                                                                      sultation with the Director of OMB, will make determinations within 90
                                                                                                      days of this order on whether to continue, modify, or cease each foreign
                                                                                                      assistance program based upon the review recommendations, with the con-
                                                                                                      currence of the Secretary of State.
                                                                                                        (d) Resumption of paused development assistance funding. New obligations
                                                                                                      and disbursements of foreign development assistance funds may resume
                                                                                                      for a program prior to the end of the 90-day period if a review is conducted,
                                                                                                      and the Secretary of State or his designee, in consultation with the Director
                                                                                                      of OMB, decide to continue the program in the same or modified form.
                                                                                                      Additionally, any other new foreign assistance programs and obligations
                                                                                                      must be approved by the Secretary of State or his designee, in consultation
                                                                                                      with the Director of OMB.
                                                                                                        (e) Waiver. The Secretary of State may waive the pause in Section 3(a)
                                                                                                      for specific programs.
                                                                                                      Sec. 4. General Provisions. (a) Nothing in this order shall be construed
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                                                                                                      to impair or otherwise affect:
                                                                                                        (i) the authority granted by law to an executive department or agency,
                                                                                                        or the head thereof; or
                                                                                                        (ii) the functions of the Director of the Office of Management and Budget
                                                                                                        relating to budgetary, administrative, or legislative proposals.
                                                                                                        (b) This order shall be implemented consistent with applicable law and
                                                                                                      subject to the availability of appropriations.


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                                                                                                        (c) This order is not intended to, and does not, create any right or benefit,
                                                                                                      substantive or procedural, enforceable at law or in equity by any party
                                                                                                      against the United States, its departments, agencies, or entities, its officers,
                                                                                                      employees, or agents, or any other person.




                                                                                                      THE WHITE HOUSE,
                                                                                                      January 20, 2025.


                                                  [FR Doc. 2025–02091
                                                  Filed 1–29–25; 11:15 am]
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            EXHIBIT B
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                Date/DTG:      Jan 24, 2025 / 241600Z JAN 25
                From:          SECSTATE WASHDC
                Action:        ALL DIPLOMATIC AND CONSULAR POSTS COLLECTIVE Immediate
                E.O:           13526
                TAGS:          PREL, AID, EAID
                Subject:       Executive Order on Review of Foreign Assistance Programs



               1. (U) Consistent with the President's Executive Order on Reevaluating and
               Realigning United States Foreign Aid, this ALDAC pauses all new obligations
               of funding, pending a review, for foreign assistance programs funded by or
               through the Department and USAID.

               2. (U) Across the United States government, it is currently impossible to
               access sufficient information in one place to determine whether the foreign
               assistance policies and interests supported by appropriations are not
               duplicated, are effective, and are consistent with President Trump's foreign
               policy. The Department needs a centralized repository from which senior
               Department, USAID officials, Ambassadors, missions and others can draw
               sufficiently detailed information from which the Secretary can make
               judgments. Further guidance regarding a new or updated repository and
               mandatory bureau submissions to it will be forthcoming.

               ACTIONS TO BE TAKEN




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               3. (U) Within thirty (30) days, the Director of the Policy Planning Staff (S/P)
               or its designate shall develop appropriate review standards and collaborate
               with the Director of the Office of Foreign Assistance (F), the Office of Budget
               and Planning (BP), the Office of Management and Budget (OMB), and/or
               other departments and agencies as appropriate to ensure that all foreign
               assistance is aligned with President Trump's foreign policy agenda and that
               data regarding all foreign assistance spending in the future is aggregated
               and inputted into a comprehensive internal Department repository.

               4. (U) Within eighty-five (85) days of this ALDAC, the government-wide
               comprehensive review of all foreign assistance shall be completed, and a
               report shall be produced to the Secretary of State for his consideration and
               recommendation to the President.

               5. (U) In keeping with one voice of American foreign policy, the United
               States government, through any department, agency or entity, shall not
               provide foreign assistance funded by or through the Department and USAID
               without the Secretary of State's authorization or the authorization of his
               designee.

               6. (U) All U.S. foreign assistance shall be aligned under the Secretary of
               State's coordination, direction, and supervision, as appropriate, consistent
               with section 622(c) of the Foreign Assistance Act of 1961 and section 1523
               of the Foreign Affairs Reform and Restructuring Act of 1998 (FARRA) within
               180 days.

               7. (U) Effective immediately, Assistant Secretaries and Senior Bureau
               Officials shall ensure that, to the maximum extent permitted by law, no new




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               obligations shall be made for foreign assistance until such time as the
               Secretary shall determine, following a review. For existing foreign assistance
               awards, contracting officers and grant officers shall immediately issue stop-
               work orders, consistent with the terms of the relevant award, until such
               time as the Secretary shall determine, following a review. Decisions
               whether to continue, modify, or terminate programs will be made following
               this review.

               8. (U) Effective immediately, pending a review of foreign assistance
               programs: no new requests for proposals (RFPs), requests for application
               (RFAs), notices of funding opportunities (NOFOs), or any other kind of
               solicitation or request for foreign assistance funding shall be published or
               processed by the Department, USAID, or other agencies implementing
               programs funded by the Department or USAID until each has been reviewed
               and approved by F as consistent with the President's policy; no further
               technical evaluation committees shall be convened; and there shall be no
               further funding obligated to awards and contracts or indefinite delivery
               /indefinite quantity (IDIQ) contracts.

               9. (U) Effective immediately, I am suspending the review process for
               proposals for new foreign assistance grants, subgrants, contracts, or
               subcontracts. No new funds shall be obligated for new awards or extensions
               of existing awards until each proposed new award or extension has been
               reviewed and approved by F as consistent with the President Trump's
               agenda.

               10. (U) Within thirty (30) days of the issuance of the review standards in
               paragraph 4, every Bureau, agency office and entity providing any type of




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               foreign assistance shall produce to F for review a list of all active, pending,
               or proposed grants, subcontracts, contracts, or subcontracts, and provide a
               clear and concise statement explaining if and how the current or proposed
               use of obligated funds advances President Trump's policy.

               11. (U) The spokesperson will also release a public statement to this effect.

               12. (U) The Secretary of State has approved waivers of the pause under the
               Executive Order and this ALDAC, subject to further review, with respect to:

               (a) foreign military financing for Israel and Egypt and administrative
               expenses, including salaries, necessary to administer foreign military
               financing;

               (b) emergency food assistance and administrative expenses, including
               salaries, necessary to administer such assistance;

               (c) on a temporary basis, salaries and related administrative expenses,
               including travel, for U.S. direct hire employees, personal services
               contractors, and locally employed staff;

               (d) legitimate expenses incurred prior to the date of this ALDAC under
               existing awards or legitimate expenses associated with stop-work orders;
               and

               (e) exceptions to the pause approved by the Director of Foreign Assistance.

               DEFINITIONS

               13. (U) Only for purposes of this ALDAC, foreign assistance means assistance
               funded from accounts in titles III and IV and from International




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               Organizations and Programs in the Department of State, Foreign Operations,
               and Related Programs Appropriations Acts.




                Signature:     RUBIO


                Drafted By:    S/TT:Marocco, Peter
                Cleared By:    S/TT:Holler, Daniel
                               L:Visek, Richard
                               L:Dorosin, Joshua
                               S/TT:Anton, Michael
                               C:Needham, Michael
                Approved By:   S: Rubio, Marco
                Released By:   POEMS_P:Acker, Vanessa G
                Info:          IO COLLECTIVE Immediate
                XMT:           BASRAH, AMCONSUL; CARACAS, AMEMBASSY; CHENGDU, AMCONSUL;
                               KABUL, AMEMBASSY; MINSK, AMEMBASSY; SANAA, AMEMBASSY; ST
                               PETERSBURG, AMCONSUL; VLADIVOSTOK, AMCONSUL;
                               YEKATERINBURG, AMCONSUL


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  The Wayback Machine - https://web.archive.org/web/20250207001034/https://www.usaid.gov/




             On Friday, February 7, 2025, at 11:59 pm (EST) all USAID direct hire personnel will be placed on
             administrative leave globally, with the exception of designated personnel responsible for mission-
             critical functions, core leadership and specially designated programs. Essential personnel expected
             to continue working will be informed by Agency leadership by Thursday, February 6, at 3:00pm
             (EST).

             For USAID personnel currently posted outside the United States, the Agency, in coordination with
             missions and the Department of State, is currently preparing a plan, in accordance with all
             applicable requirements and laws, under which the Agency would arrange and pay for return travel
             to the United States within 30 days and provide for the termination of PSC and ISC contracts that
             are not determined to be essential. The Agency will consider case-by-case exceptions and return
             travel extensions based on personal or family hardship, mobility or safety concerns, or other
             reasons. For example, the Agency will consider exceptions based on the timing of dependents’
             school term, personal or familial medical needs, pregnancy, and other reasons. Further guidance on
             how to request an exception will be forthcoming.

             Thank you for your service.

             FAQs

             1. If I am posted overseas and placed on administrative leave, am I required to return to the
             United States within the next 30 days?

                     No. While USAID and the Department of State are preparing a plan under which USAID
                     personnel posted overseas would be offered optional and fully reimbursed return travel to the
                     United States within 30 days, personnel are not required to accept Agency-sponsored travel
                     or to return to the United States within any specific deadline. Overseas USAID personnel
                     retain the option to remain at their posts, even while placed on administrative leave and not
                     working. Beyond 30 days, however, Agency funded and arranged return travel may not be
                     available unless an individualized exception is sought and granted.




https://web.archive.org/web/20250207001034/https://www.usaid.gov/                                                         1/1
